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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


   MAHMOUD KHALIL,                                        Civil Action No. 25-1963 (MEF) (MAH)

                  Petitioner,

           v.
                                                                           ORDER
   WILLIAM P. JOYCE, et al.,

                  Respondents.


          The parties having filed motions for leave to appear pro hac vice, and proposed amicus
  curiae having filed a motion for leave to appear as amicus curiae concerning this matter, see, e.g.,
  D.E. 86, D.E. 87, D.E. 88, D.E. 95, and D.E. 98;

         and the Court having set forth a briefing schedule concerning the Government’s renewed
  motion to transfer venue, Petitioner’s renewed motion seeking release, and Petitioner’s renewed
  motion for a preliminary injunction, Order, Mar. 20, 2025, D.E. 85;

          and in view of the briefing schedule ordered by the District Court, this Court concluding
  that swift adjudication of applications for admission pro hac vice, leave to appear as amicus curiae,
  and to intervene, will facilitate the timely administration of this action;

         and for good cause;

         IT IS on this 24th day of March 2025,

         ORDERED as follows:

         1.      For any motion for admission pro hac vice, to appear as amicus curiae, and/or to
         intervene that is filed on or after the entry of this Order, any opposition or objection must
         be filed not later than 5:00 p.m. the next business day.

         2.    If no opposition is filed by 5:00 p.m. the next business day, any opposition will be
         deemed waived.

         3.      This Order has no effect on any such applications that were filed prior to its entry.


                                                        /s/ Michael A. Hammer
                                                        United States Magistrate Judge
